       Case 1:25-cv-00402-AHA           Document 86       Filed 05/15/25    Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


  DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 24, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, as made applicable through subsequent Minute Orders.

       2.        As to processing of payments to foreign assistance funding recipients for work

completed prior to February 13, 2025: As of yesterday, the total number of such payments by

Defendants to Plaintiffs processed since May 7, 2025 was 26, and the total number of such

payments by Defendants to non-Plaintiffs processed since May 7, 2025 was 1,080. In sum,

Defendants have therefore processed 1,106 payments during the five business days through and

including May 14, 2025.


                                                1
       Case 1:25-cv-00402-AHA           Document 86       Filed 05/15/25      Page 2 of 4




       3.      The total number of such payments which remain to be processed for Plaintiffs is

71, and the total number of such payments which remain to be processed for non-Plaintiffs is

2,584. There are therefore approximately 2,700 payments remaining to be processed.

       4.      Separately, Defendants received on April 15, 2025 additional payments request

details from Plaintiffs in No. 25-cv-402 to which they referred in their submission of May 5, 2025,

and the parties are continuing to discuss those payment requests. In analyzing Plaintiffs’ request

details, Defendants realized that payments USAID has been making to Plaintiffs and non-Plaintiffs

via the payment management system operated by the Department of Health & Human Services

(HHS) have not been included in the count of payments Defendants have been providing through

the status reports. For transactions on the HHS system, USAID lacks practicable means to

disaggregate payments for work completed prior to February 13, 2025 from payments for work

completed later.

       5.      Additionally, after reviewing its records to confirm receipt of Plaintiffs’

resubmitted invoices and requests, USAID on May 15, 2025 provided alternative contact

information to assist Plaintiffs in resubmitting a small number of invoices and requests that the

agency’s personnel, including those at overseas posts, have not been able to locate.

       6.      Defendants are continuing to correspond with Plaintiffs in both suits about their

invoices and requests.

       7.      Given ongoing receipt of new payments requests for work completed prior to

February 13, 2025, as Defendants have previously submitted, if the Court were to set a deadline

for the submission by Plaintiffs of invoices for payments for work completed prior to February 13,

2025, such as May 22, 2025, Defendants could finish processing all of the payments to Plaintiffs

by June 13, 2025.

       8.      As to the provisions in this Court’s Order of March 10, 2025 concerning “funds
                                                2
       Case 1:25-cv-00402-AHA          Document 86        Filed 05/15/25     Page 3 of 4




that Congress appropriated for foreign assistance programs in the Further Consolidated

Appropriations Act of 2024”: In consultation with the Office of Management and Budget, and in

light of the results of the programmatic review and the planned reorganization outlined in the

notification to Congress, USAID and State continue to evaluate the appropriate next steps to

address the provision in this Court’s March 10, 2025, order regarding obligation of funds.




                                                3
     Case 1:25-cv-00402-AHA   Document 86      Filed 05/15/25     Page 4 of 4




Dated: May 15, 2025                     Respectfully submitted,
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                                        /s/ Indraneel Sur
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                                    4
